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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

   MY HEALTH, INC.,                                    §
                                                       §
                    Plaintiff,                         §
                                                       §
   v.                                                  §
                                                       §
   ALR TECHNOLOGIES, INC.,                             §   CIVIL ACTION NO. 2:16-CV-00535-RWS
                                                       §   (LEAD CASE)
                    Defendant.                         §
                                                       §
   INTOUCH TECHNOLOGIES, INC.                          §   CIVIL ACTION NO. 2:16-CV-00536-RWS
                                                       §
                    Defendant.                         §
                                                       §
   DEVILBISS HEALTHCHARE, LLC                          §   CIVIL ACTION NO. 2:16-CV-00544-RWS
                                                       §
                    Defendant.                         §
                                                       §
   MYNETDIARY, INC.                                    §   CIVIL ACTION NO. 2:16-CV-00866-RWS
                                                       §
                    Defendant.                         §
                                                       §
   MCKESSON TECHNOLOGIES INC.                          §   CIVIL ACTION NO. 2:16-CV-00881-RWS
                                                       §
        .           Defendant.                         §

                                          FINAL JUDGMENT

            The Court has granted the Motions to Dismiss in each of the above-styled and numbered

  cases and therefore enters final judgment in this consolidated action. It is hereby

            ORDERED, ADJUDGED and DECREED that My Health, Inc.’s complaints against

  ALR Technologies, Inc., InTouch Technologies, Inc., DeVilbiss Healthcare, LLC, MyNetDiary,

  Inc. and McKesson Technologies Inc. are DISMISSED WITH PREJUDICE.

            Each party is to bear its own costs. The Clerk of the Court is directed to close the cases.
            SIGNED this 27th day of March, 2017.



                                                               ____________________________________
                                                               ROBERT W. SCHROEDER III
                                                               UNITED STATES DISTRICT JUDGE
